Case 1:21-cv-01382-NYW-NRN Document 63 Filed 09/06/22 USDC Colorado Page 1 of 18




                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO

   Case No.: 1:21-cv-01382-NYW-NRN

       ANDREW SCHOBER,

                             Plaintiff,

                    v.

       BENEDICT THOMPSON, OLIVER READ,
       EDWARD J. THOMPSON, CLAIRE L.
       THOMPSON, PAUL READ, and HAZEL
       DAVINA WELLS,

                             Defendants.



       OPPOSITION TO DEFENDANT O. READ’S RULE 12(b)(2) MOTION TO DISMISS


                                             INTRODUCTION

           This Court should deny pro se Defendant Oliver Read’s Motion to Dismiss (which

   he brings pursuant to FRCP 12(b)(2)) (Dkt. #57). On August 22, 2022, Defendant Oliver

   Read (“Oliver”)1 filed his Motion to Dismiss (“Defendant’s MTD”; cited as “Mot.” in this

   Opposition) alleging that this Court lacks personal jurisdiction over him. Oliver is

   mistaken. As explained further herein, this Court’s exercise of personal jurisdiction over

   Oliver is constitutional, proper, comports with the interests of fair play and substantial

   justice, and is necessary to avoid otherwise entirely depriving Plaintiff Andrew Schober,

   a citizen of the United States and Colorado, access to justice.




   1 Multiple Defendants in this matter share the same “Read” last name, and accordingly, reference is made
   to Defendant Oliver Read by his first name in order to clearly distinguish between the Defendants (although
   only Oliver Read—and not the other “Read” Defendant, pro se Defendant Paul Read—filed Defendant’s
   MTD, which Plaintiff now opposes).

                                                       1
Case 1:21-cv-01382-NYW-NRN Document 63 Filed 09/06/22 USDC Colorado Page 2 of 18




                                             BACKGROUND

           A full statement of facts is not set out here because the Complaint and the facts it

   contains speak for themselves. However, certain facts are worth repeating. As alleged in

   Plaintiff’s Complaint, Oliver and Defendant Benedict Thompson (“B. Thompson”)2

   participated in a conspiracy to design, distribute, and benefit from “clipboard-jacking”

   malware (the “Malware”), which they used to infect Plaintiff Andrew Schober’s computer;

   pervasively monitor Mr. Schober’s digital activities; intrude on Mr. Schober’s digital

   cryptocurrency wallet; and steal 16.4552 bitcoins belonging to Mr. Schober. The following

   facts asserted in Plaintiff’s Complaint are relevant to the discussion concerning why this

   Court’s exercise of specific jurisdiction over Defendant is appropriate:

       •   “This Court has personal jurisdiction over each Defendant because Defendants

           purposefully directed their conduct at Colorado, engaged in conduct that has and

           had a direct, substantial, reasonably foreseeable, and intended effects of causing

           injury to persons in Colorado (including in this District), and purposely availed

           themselves of the laws of Colorado. Mr. Schober operated his computer in

           Colorado and suffered his injuries in Colorado by the acts and omissions alleged

           herein.” Compl. ¶ 15.

       •   “A primary purpose of the Malware was to divert cryptocurrency from the victim’s

           cryptocurrency wallet to the thief’s cryptocurrency wallet.” Id. ¶ 18. “A

           cryptocurrency wallet (in this case, a Bitcoin wallet) is an algorithmically generated

           cryptographic key pair comprising a ‘public key’ and a ‘private key.’ A public key

           allows the wallet owner to receive cryptocurrency from other wallets. A private key


   2Again, multiple Defendants share the “Thompson” last name, so the first initial and last name are used
   here for clarity.

                                                      2
Case 1:21-cv-01382-NYW-NRN Document 63 Filed 09/06/22 USDC Colorado Page 3 of 18




          allows the wallet owner to send cryptocurrency from his or her wallet to other

          wallets.” Id. ¶ 19.

      •   Cryptocurrency wallets are used to send and receive cryptocurrency transactions

          recorded on blockchains, like the Bitcoin blockchain. Any entity with control of the

          private key that corresponds to a cryptocurrency wallet’s public key(s) controls the

          cryptocurrencies associated with that wallet’s address(es). Id. ¶ 20.

      •   “The Malware was designed to monitor the victim’s computer activity by secretly

          forcing the victim’s computer to run a pattern-matching algorithm each time the

          victim used the copy-paste (or ‘clipboard’) function on his or her computer.” Id. ¶

          15. “When the Malware recognized that Mr. Schober copied a cryptocurrency

          wallet address, the Malware immediately executed code that replaced the [Bitcoin]

          address he copied with a new [Bitcoin] address controlled by one or more of the

          Defendants.” Id. ¶ 28.

      •   “Mr. Schober’s computer became infected with the Malware after B. Thompson or

          [Oliver] or both posted a link to software—which Defendant(s) called ‘Electrum

          Atom’—on the popular public online forum Reddit. The Malware was hidden within

          this ‘Electrum Atom’ software.” Id. ¶ 25. “Additionally, [B. Thompson] and/or [Oliver]

          represented that the software he or they posted on the public forum(s) was

          Electrum brand software and stated that the software did not contain malware.” Id.

          ¶ 68.

      •   “Blockchain tracing analyses and investigations revealed that Defendants [B.

          Thompson] and/or [Oliver] controlled the [Bitcoin address created by the Malware]

          during the relevant period.” Compl. ¶ 26. “But for B. Thompson and/or Read’s false


                                                3
Case 1:21-cv-01382-NYW-NRN Document 63 Filed 09/06/22 USDC Colorado Page 4 of 18




           and misleading representations about the authenticity of the file Mr. Schober

           downloaded, Mr. Schober would not have had his privacy invaded, his computer

           damaged, and his cryptocurrency stolen.” Id. ¶ 65.

       •   Defendants B. Thompson and Oliver converted and laundered Mr. Schober’s

           bitcoins after they extracted (and transferred to their own wallet(s)) the stolen

           bitcoins from the Bitcoin wallet created by the Malware (the “Malware Wallet”). See

           Id. ¶ ¶ 34, 45.

           Worth noting, also, is that Plaintiff expects discovery will further support this Court’s

   exercise of personal jurisdiction over Defendant. Hardly a month ago, on August 4, 2022,

   this Court entered the Scheduling Order in this case (Dkt. #54). Accordingly, and in light

   of an extension granted to Oliver by Plaintiff, Oliver has yet to produce even his first

   (complete) set of responsive discovery.3 Plaintiff expects Oliver’s responses and

   document production, when produced, will reveal significant additional facts that

   conclusively demonstrate why this Court has personal jurisdiction over Oliver. This Court

   should allow discovery to proceed according to schedule, and deny Defendant’s MTD.

                                    ARGUMENT AND AUTHORITIES

           Defendant’s MTD is merely a recitation of case law; it offers no explanation or

   analysis whatsoever in support of Oliver’s hollow and misguided assertion that this Court

   lacks personal jurisdiction over him or this case. Nevertheless, Defendant’s MTD offers

   Plaintiff an early opportunity not only to demonstrate, unequivocally, that this Court’s

   exercise of personal jurisdiction over Defendant is proper, but also in so doing (in the



   3Oliver has produced unverified responses to Plaintiff’s first set of requests for admission, and Plaintiff’s
   counsel is working with Oliver (and other pro se Defendants) on ESI protocols and discovery procedures.


                                                        4
Case 1:21-cv-01382-NYW-NRN Document 63 Filed 09/06/22 USDC Colorado Page 5 of 18




   interests of the efficient administration of justice moving forward) clarify some of the

   relevant factual novelties and/or complex concepts concerning emerging technologies

   central to this case, which will need to be further clarified at some point regardless.

          Of note, this case may be the first civil case heard in the Tenth Circuit involving

   foreign “hacker”-defendants who (a) used malware to steal bitcoins from (b) an individual

   Colorado resident whose bitcoins were in Colorado and who (c) initiated federal litigation

   against the individual hacker-defendants themselves, rather than against one or more

   corporate entity-defendants4 (e.g., cryptocurrency exchanges, like Bitfinex or Coinbase;

   or online forum operators, like Reddit or Twitter) implicated by or involved in the hacker-

   defendants’ illicit activities.

   A. Review of Technological Novelties Relevant to This Jurisdictional Analysis

          On-point case law, discussed infra, reflects long-standing principles that establish

   that this Court’s exercise of personal jurisdiction over Oliver is not only appropriate but

   imperative. This is true even though many of the applicable jurisdictional principles are

   derived from legal precedent established pre-internet, pre-malware, and pre-Bitcoin.

          In terms of the specific personal jurisdiction analysis at hand, this case is really

   only unique because Mr. Schober was actually able to identify and find Defendants using

   the same tools Defendants used to commit their unlawful acts. In spite of Defendants’

   (Oliver’s and B. Thompson’s) efforts to conceal both their true and digital identities, as

   well as their illicit online behaviors, Mr. Schober, an individual plaintiff—not a gigantic

   entity, like the U.S. Government for instance, with thousands of employees and massive

   amounts of technological and financial resources—was able, against nearly


   4 Often individual hacker-defendants are extremely difficult, if not impossible to track down, whereas
   corporate entity defendants are often much easier to identify and bring to court.

                                                     5
Case 1:21-cv-01382-NYW-NRN Document 63 Filed 09/06/22 USDC Colorado Page 6 of 18




   insurmountable odds, to identify and track down the hacker-defendants. Mr. Schober was

   able to do this, uniquely, because the assets Defendants trespassed to and converted

   were blockchain-based assets, specifically bitcoins.

          Unlike many other digital assets, bitcoins (which were only introduced to the world

   in 2009) can be remotely stolen because they can be transferred “peer-to-peer” without

   the assistance of a third-party intermediary. Additionally, each Bitcoin transaction is not

   only distinct, but can also be viewed publicly, which allows bitcoins to be transparently

   tracked and traced (at least by those who, in just the past 13 years since Bitcoin’s

   invention, developed a particular set of “blockchain forensic” skills, see, e.g., Compl. at

   fn. 5) using blockchains. But while the technologies involved in this case are fairly new

   and increasingly gaining prominence, the basic facts alleged in support of Plaintiff’s tort

   allegations are familiar.

          Although Oliver was not physically present in Colorado when he committed his

   tortious acts, Oliver used a simple and commonly-available tool, the internet, to digitally

   reach into Mr. Schober’s personal computer and remotely remove Mr. Schober’s valuable

   digital currency directly from Mr. Schober’s Colorado-located Bitcoin wallet. In the

   simplest terms, Oliver and B. Thompson pickpocketed Mr. Schober from over 4,500 miles

   away; they were able to do this because the internet and Bitcoin exist.

          Especially in today’s world, where the internet and Bitcoin are present, the fact that

   Oliver happens to reside outside of Colorado is scarcely germane to the personal

   jurisdiction discussion—outside of the due process considerations discussed infra—

   because Mr. Schober’s computer and his Bitcoin wallet were both, at all relevant times,

   in Colorado. Oliver knew his conduct was directed Colorado, at least as soon as Oliver



                                                6
Case 1:21-cv-01382-NYW-NRN Document 63 Filed 09/06/22 USDC Colorado Page 7 of 18




   (and/or B. Thompson) misdirected Mr. Schober’s bitcoins to the Bitcoin wallet(s) that one

   or more Defendants controlled.5 Furthermore, because the Malware (designed by

   Defendants) installed itself on Mr. Schober’s Colorado-located computer, the Malware

   Wallet was, in fact, remotely operated by Defendants in Colorado.

   B. Principles Set Out in Tenth Circuit Precedent Instruct That This Court Has

   Personal Jurisdiction Over Defendant

           Defendant’s MTD explicitly acknowledges that Colorado’s long-arm statute

   otherwise permits this Court’s exercise of personal jurisdiction over Oliver; as a matter of

   fact, according to Oliver, here, “the only question is whether exercising jurisdiction would

   comport with constitutional due process.” Mot. at 2.6 See C5 Med. Werks v. CeramTec

   GmbH, 937 F.3d 1319, 1322 (10th Cir. 2019) (citations omitted) (“Because Colorado’s

   long-arm statute confers maximum jurisdiction permitted by constitutional due process,

   our only question here is whether the district court’s exercise of personal jurisdiction

   comports with due process.”).

           Under the Colorado long arm statute, a person is subject to the jurisdiction of the

   courts of Colorado, “concerning any cause of action arising from the commission of a

   tortious act within [the] state.” AST Sports Science, Inc. v. CLF Distribution Ltd., 514 F.3d

   1054, 1060. A tortious act is one that “implies the total act embodying both cause and

   effect.” Id. (citing Classic Auto Sales, Inc. v. Schocket, 832 P.2d 233, 235 (Colo. 1992)).



   5Mr. Schober’s Bitcoin wallet, and the cryptocurrencies in it (prior to the theft), can be said to have existed
   only in Colorado because Colorado is the only place where Mr. Schober’s Bitcoin wallet’s private key
   existed at the time. See Compl. at ¶ ¶ 19-25.

   6Pending Oliver’s production of discovery (which he has yet to fully produce), Mr. Schober also disputes
   Oliver’s unsupported assertion—which he claims as “fact” in Defendant’s MTD—that Oliver “had never
   been in contact with anyone from Colorado as of the beginning of court proceedings including the
   defendant.” Mot. at 2.

                                                         7
Case 1:21-cv-01382-NYW-NRN Document 63 Filed 09/06/22 USDC Colorado Page 8 of 18




   To satisfy the long arm statute, there must be a showing that the tortious action occurred

   within the state, and that the exercise of jurisdiction over the defendant comports with due

   process. Id. Both showings are present here, as further explained herein. Due process

   for jurisdictional purposes is a two-step analysis: (1) whether defendant has sufficient

   “minimum contacts” with the forum state, and (2) if minimum contacts exist, whether the

   exercise of jurisdiction over the non-resident defendant “would ‘comport with fair play and

   substantial justice.’” Stoltz v. Macurdy, 2009 WL 598261 (D. Colo. March 6, 2009) at 1-2

   (citing International Shoe Co. v. Washington, 326 U.S. 310, 316 (1945); Burger King Corp.

   v. Rudzewicz, 471 U.S. 462). Establishment of minimum contacts with the forum state

   requires a showing that the defendant purposefully availed himself of the privilege of

   conducting activities with the forum state." Sports Science, 514 F.3d at 1058.

          The minimum contacts test has two requirements: “(i) that the defendant must have

   ‘purposefully directed its activities at residents of the forum state,’ and (ii) that 'the

   plaintiff's injuries must arise out of [the] defendant's forum-related activities.’” C5 Med.

   Werks, 937 F.3d at 1323 (quoting Shrader v. Biddinger, 633 F.3d 1235, 1239 (10th Cir.

   2011)). The purposeful availment requirement ensures that a defendant will not be haled

   into a jurisdiction solely as a result of random, fortuitous, or attenuated contacts. Burger

   King, 471 U.S. at 475 (citing Keeton v. Hustler Magazine, Inc., 465 U.S. 770, 774 (1984)).

   Whether sufficient “minimum contacts” exist to support personal jurisdiction is determined

   on the basis of either general jurisdiction, or specific jurisdiction. Stoltz, 2009 WL 598261

   at 1 (citing Helicopteros Nacionales de Colombia, S.A. v. Hall, 466 U.S. 408, 414 (1984).

          As explained further below, Mr. Schober has sufficiently alleged that the tortious

   actions committed against him were directed at, occurred within, and had their effects felt



                                                8
Case 1:21-cv-01382-NYW-NRN Document 63 Filed 09/06/22 USDC Colorado Page 9 of 18




   by Plaintiff in Colorado. Moreover, Mr. Schober’s allegations arise from and relate to the

   activities in which Oliver digitally and remotely engaged in Colorado.

           1. Defendant Purposefully Directed His Trespassory and Conversion-Related

   Activities at Plaintiff, a Colorado-Resident

           Mr. Schober has adequately alleged that this Court has specific jurisdiction over

   Oliver because Oliver “purposefully directed” his activities concerning the Malware, the

   bitcoin theft, and the cryptocurrency laundering at Mr. Schober, a resident of Colorado,

   and because the instant litigation results from alleged injuries arising out of or relating to

   those activities engaged in by Oliver. See Burger King, 471 U.S. at 472.

           Initially, Oliver purposefully directed his conduct at a U.S.-based company, Reddit,

   Inc., and broadly thereby at citizens of the United States, when he posted the Malware

   on Reddit’s online forum and explicitly encouraged English-speaking Reddit users to

   download the Malware. The posting of the Malware on Reddit, and the false statements

   Oliver published to Reddit’s U.S.-based online forum, were each enough for Oliver to

   reasonably expect being haled into court in the United States, if not in Colorado

   particularly.7 With respect to Oliver’s Colorado-specific activities and whether Oliver could

   reasonably be expected to be haled into a court in Colorado, the court in Allen v. IM Sols.,

   LLC, 83 F. Supp. 3d 1196 (E.D. Okla. 2015) succinctly summarized the “purposeful

   availment” requirement typically used in internet-based tort cases, such as here:

       In tort cases, one way to analyze whether a defendant has purposefully directed

       its activities toward the forum state is to “consider the ‘effects test’ of Calder v.


   7As noted in this Court’s August 4, 2022 Scheduling Order (Dkt. #54), the Parties have agreed to Zoom
   depositions. In this regard, whether the Zoom calls are hosted by a Federal Court in California or a Federal
   Court in Colorado may be trivial where the Defendant is based in the United Kingdom, in light of the other
   considerations described herein.

                                                        9
Case 1:21-cv-01382-NYW-NRN Document 63 Filed 09/06/22 USDC Colorado Page 10 of 18




      Jones, 465 U.S. 783 (1984), where purposeful direction is established if three

      showings are made: the defendant (a) commits ‘an intentional action’; (b) that is

      ‘expressly aimed at the forum state’; (c) with ‘knowledge that the brunt of the

      injury would be felt in the forum state.’ Dudnikov, 514 F.3d at 1072; see Shrader,

      633 F.3d at 1240-41; accord Carrier Corp. v. Outokumpu Oyj, 673 F.3d 430,

      451 (6th Cir. 2012).” OMI Holdings, 149 F.3d at 1092 (citing Grynberg v. Ivanhoe

      Energy, Inc., 490 Fed.Appx. 86, 96 (10th Cir. 2012)). With respect to content on

      the internet, “courts look to indications that a defendant deliberately directed its

      message at an audience in the forum state and intended harm to the plaintiff

      occurring primarily or particularly in the forum state.” Shrader at 1241.

   Allen, 83 F. Supp. 3d at 1206.

          As the Tenth Circuit has explained, “[t]he threshold jurisdictional requirement is

   established when it is demonstrated . . . ‘that tortious conduct in another state ultimately

   caused injury in Colorado and that requiring a defense to the tort action in this state would

   be consistent with the due process of law.’” Id. (quoting Fleet Leasing, Inc. v. District

   Court, 649 P.2d 1074, 1078 (Colo. 1982)). See also, Oaster v. Robertson, 173 F. Supp.

   3d 1150, 1166-67 (D. Colo. 2016) (explaining that the Tenth Circuit in Sports Sci., supra,

   reversed the district court’s ruling, holding that the district court had jurisdiction over

   Colorado tort claims even where the tortious conduct took place in England.)

          Courts appreciate that “simply posting information to the internet does not subject

   the poster to personal jurisdiction in every state where the ‘electronic signal is transmitted

   and received’ because there is no ‘manifested intent of engaging business or other

   interactions in the State[.]’ Sebo Am., LLC v. Azar, Civil Action No. 20-cv-03015-NYW,



                                                10
Case 1:21-cv-01382-NYW-NRN Document 63 Filed 09/06/22 USDC Colorado Page 11 of 18




   2021 U.S. Dist. LEXIS 34245, at *11-12 (D. Colo. Feb. 24, 2021) (citing ALS Scan, Inc.

   v. Digital Serv. Consultants, Inc., 293 F.3d 707, 714 (4th Cir. 2002)). However, as the

   Tenth Circuit Appellate Court noted in the seminal case of Silver v. Brown, 382 F. App'x

   723 (10th Cir. 2010), “[t]he damage [by a tortious act] is done when a person searching

   the internet for information . . . runs across [the tortious material]. Cf. Keeton, 465 U.S. at

   777 (“The tort of libel is generally held to occur wherever the offending material is

   circulated.”). Silver, 382 F. App'x at 732 (emphasis added).

           In Silver, the Appellate Court found the Calder factors were met where a defendant

   had intentionally posted a blog article intended to damage plaintiff's and his company's

   reputations, knowing that the brunt of the injury would be felt in New Mexico, where the

   plaintiff and his business were located.

           Reddit’s online forum is like the defendant’s blog in Silver. Reddit is a company

   based in California, USA.8 Reddit operates an online public forum that, like the blog in

   Silver, is digitally-accessible from virtually anywhere on earth. Given, however, that the

   instant case involves a markedly distinct tort from the tort addressed in Silver, perhaps a

   useful analogy here is that Reddit is like a globally-accessible digital “conference” hosted

   in California,9 which both Oliver and Mr. Schober attended. Mr. Schober visited the Reddit

   forum in search of information; Defendants (Oliver and B. Thompson) visited the online



   8U.S. Securities and Exchange Commission, Filing Detail, available at
   https://www.sec.gov/Archives/edgar/data/1713445/0001713445-21-000001-index.html (accessed Sept. 6,
   2022).

   9 To be careful regarding the extent of this analogy, it is important to note that Reddit apparently has or at
   least uses a third-party’s servers located in Colorado from which Mr. Schober, on information and belief,
   and subject to further discovery efforts, utilized in order to access Reddit’s online forum, even though
   Reddit’s headquarters are technically in California. See Amazon Web Services, Reddit Migrates to
   Managed Amazon Aurora to Scale for 30% Year-over-Year Growth, available at
   https://aws.amazon.com/solutions/case-studies/reddit-aurora-case-study (accessed Sept. 6, 2022).

                                                        11
Case 1:21-cv-01382-NYW-NRN Document 63 Filed 09/06/22 USDC Colorado Page 12 of 18




   Reddit forum with the intent to set traps for Reddit users who were searching for

   information. Instead of posting defamatory material on a blog, like in Silver, Defendants

   accomplished the installation of the Malware on Mr. Schober’s computer by setting digital

   traps on Reddit, ultimately causing Plaintiff harm by violating the terms of use established

   by the U.S.-based company in order to protect Reddit users, including Colorado Reddit

   users, like Mr. Schober.

           Additionally, even if Reddit is not analogous to the blog in Silver, Mr. Schober’s

   computer represents a more definitive parallel between the libel published on the blog in

   Silver and the trespass and conversion torts achieved by the Malware, which Defendants

   “published” to Mr. Schober’s Colorado-located computer. Regardless of where Reddit’s

   servers are located (whether in Colorado, California, the United Kingdom, or

   elsewhere)—and notwithstanding whether Oliver may or might have technically infected

   Mr. Schober’s computer as Mr. Schober visited the digital online forum (by analogy, the

   “conference”) hosted by California-based Reddit—Mr. Schober’s allegations relate chiefly

   to the harms he experienced after he “returned home” from the “conference.”10 That is,

   Plaintiff experienced his harms after he logged off the online Reddit forum because the

   Malware persistently and clandestinely continued operating on his computer in Colorado.

   Only after the Malware was installed (or “published”) on Mr. Schober’s computer did

   Defendants (on information and belief and subject to ongoing discovery efforts) actually




   10 To be clear, Mr. Schober accessed the Reddit forum from his home in Colorado. The analogy of “returning
   home” here is only intended to highlight that, even had Mr. Schober taken a hypothetical trip, physically, to
   a Reddit “conference” hosted in California, during which Oliver infected Mr. Schober’s computer, the
   trespass and thefts still occurred in Colorado because Mr. Schober’s bitcoin wallet and computer were at
   all relevant times located with him, in Colorado, when the torts and harms occurred.

                                                       12
Case 1:21-cv-01382-NYW-NRN Document 63 Filed 09/06/22 USDC Colorado Page 13 of 18




   begin to inflict damage on Mr. Schober and his property by monitoring his copy-paste

   activities, and eventually, by stealing his bitcoins.

          Mr. Schober’s allegations primarily relate to Defendants’ installation of the Malware

   on his computer via Reddit, and his allegations stem from Defendants’ intentional and

   continuous use of the Malware to, at various times after the Malware had been installed

   on his computer, trespass to his chattels (i.e., his computer, his Bitcoin wallet, and his

   bitcoins) and steal his property (his bitcoins), which at all relevant times were in Colorado.

          2. Defendant Has Strong Minimum Contacts: The Malware Operated on

   Plaintiff’s Computer and Helped Defendants Trespass to / Steal Plaintiff’s Property

          Courts must “take into account the strength of a defendant's minimum contacts.”

   TH Agric. & Nutrition, LLC v. Ace European Group Ltd., 488 F.3d 1282, 1292. “The

   reasonableness prong of the due process inquiry ‘“evokes a sliding scale: the weaker the

   plaintiff's showing on [minimum contacts], the less a defendant need show in terms of

   unreasonableness to defeat jurisdiction.”’ OMI Holdings, Inc., 149 F.3d at 1092 (alteration

   in original) (quoting Ticketmaster-New York, Inc. v. Alioto, 26 F.3d 201, 210 (1st Cir.

   1994)).” Id. The connection between Oliver’s conduct and the underlying factual

   allegations alleged in Plaintiff’s Complaint is strong and apparent, and certainly sufficient

   to warrant this Court’s exercise of personal jurisdiction over Oliver. The direct, specific,

   and separate actions of Oliver in (i) designing and advertising the Malware; (ii) operating

   the Malware; (iii) utilizing the Malware after it was installed on Plaintiff’s computer; and

   (iv) benefitting from the bitcoins stolen by the Malware, are enough to bring Oliver into

   court in Colorado. Accordingly, this Court can exercise specific jurisdiction over Oliver.




                                                 13
Case 1:21-cv-01382-NYW-NRN Document 63 Filed 09/06/22 USDC Colorado Page 14 of 18




          Further, Oliver’s online activities are "meaningful" because (as will be shown,

   especially after completion of discovery), Defendants controlled the Malware on Mr.

   Schober’s computer for several weeks before they transferred the bitcoins from the

   Malware Wallet to their own wallet(s). Personal jurisdiction is therefore established also

   on that basis. See Burger King, 471 U.S. at 471. It is reasonable for this Court to exercise

   personal jurisdiction over Defendant here.

   B. Notions of Fair Play and Substantial Justice are Satisfied

          “[I]f defendant's actions create sufficient minimum contacts,” as they do here, “the

   Court must consider whether the exercise of personal jurisdiction over defendant offends

   traditional notions of fair play and substantial justice. zvelo, Inc. v. Check Point Software

   Techs., LTD., 418 F. Supp. 3d 664, 669 (D. Colo. 2019) (internal quotation omitted). “This

   latter inquiry requires a determination of whether the Court’s exercise of personal

   jurisdiction over the defendant is ‘reasonable’ in light of the circumstances of the case.” Id.

   The considerations of “fair play and substantial justice” require the Court to consider (1)

   the burden on the defendant; (2) the forum state's interest in resolving the dispute; (3) the

   plaintiff's interest in receiving convenient and effective relief; (4) the interstate judicial

   system's interest in obtaining the most efficient resolution of controversies; and (5) the

   shared interest of several state in furthering fundamental social policies. Trujillo v.

   Williams, 465 F.3d 1210, 1221 (10th Cir. 2006). All five factors weigh in favor of this

   Court’s exercise of personal jurisdiction over Oliver. The below analysis of these five

   factors demonstrates that this Court’s exercise of personal jurisdiction over Oliver is

   appropriate.




                                                 14
Case 1:21-cv-01382-NYW-NRN Document 63 Filed 09/06/22 USDC Colorado Page 15 of 18




           First Factor: Oliver will not be burdened if required to defend himself in Colorado

   any more than Plaintiff would be burdened if he were to bring this case in the United

   Kingdom (which would be Plaintiff’s only other conceivable route, and which is simply

   unreasonable in light of the facts of this case). Oliver (and B. Thompson) reached into the

   United States and into Plaintiff’s computer in Colorado. By contrast, during the relevant

   time period, Plaintiff had no connections with the United Kingdom whatsoever.

           Second Factor: “States have an important interest in providing a forum in which

   their residents can seek redress for injuries caused by out-of-state actors.” OMI

   Holdings, Inc., 149 F.3d at 1096. In explaining the disadvantage that insured residents

   suffer when insurers are not held legally accountable, the Court noted that "when claims

   were small or moderate[,] individual claimants frequently could not afford the cost of

   bringing an action in a foreign forum--thus, in effect making the company judgment

   proof." Id. at 223. TH Agric. & Nutrition, 488 F.3d at 1293-94. Large companies and the

   U.S. government should not be the only parties who can recover for harms caused by

   hacker-defendants as a result of digital currency trespasses or conversions.11

           Third Factor: Litigating Plaintiff’s claims in Colorado would be significantly more

   efficient than in any other forum. As here, “[t]his factor may weigh heavily in cases where

   a Plaintiff's chances of recovery will be greatly diminished by forcing him to litigate in

   another forum because of that forum's laws or because the burden may be so


   11 See, e.g., Bose v. Interclick, Inc., 2011 U.S. Dist. LEXIS 93663, at *26-27 (S.D.N.Y. Aug. 17, 2011)
   (“Plaintiff's trespass to chattels claim regarding Interclick's placement of unauthorized Flash LSOs and
   history-sniffing code . . . is arguably sufficient to survive a motion to dismiss.”); and United States v.
   Hutchins, 361 F. Supp. 3d 779, 799 (E.D. Wis. 2019) (“For example, if, as it is alleged, Hutchins promoted
   his malware to individuals in the Eastern District of Wisconsin, then he could reasonably foresee being
   haled before this Court for trial on that issue. See United States v. Perlaza, 439 F.3d 1149, 1168 (9th Cir.
   2006) (‘The nexus requirement is a judicial gloss applied to ensure that a defendant is not improperly haled
   before a court for trial.’). Whether Hutchins actually did any of the alleged conduct is a question for the
   jury.).” (citations and quotations omitted)

                                                       15
Case 1:21-cv-01382-NYW-NRN Document 63 Filed 09/06/22 USDC Colorado Page 16 of 18




   overwhelming as to practically foreclose pursuit of the lawsuit.” TH Agric. & Nutrition, 488

   F.3d at 1294 (citing OMI Holdings, Inc., 149 F.3d at 1097). The burden on Plaintiff to bring

   a case in the U.K. would practically or actually foreclose pursuit of this or a similar lawsuit.

   Finding and serving Defendants in the U.K. was, alone, a substantial burden for Plaintiff

   (a lone individual).

          Fourth Factor: The alleged torts occurred in Colorado where Oliver promoted the

   Malware, intruded on Mr. Schober’s computer and his Bitcoin wallet, and assisted

   Defendants in stealing Mr. Schober’s bitcoins. Moreover, most witnesses relevant to

   Plaintiff’s Complaint are located in Colorado or at least in the United States. “Key to this

   inquiry are the location of witnesses, where the wrong underlying the lawsuit occurred,

   what forum's substantive law governs the case, and whether jurisdiction is necessary to

   prevent piecemeal litigation.” Id. (citations omitted).

          Fifth Factor: The fifth factor of the reasonableness inquiry “focuses on whether the

   exercise of personal jurisdiction by [the forum state] affects the substantive social policy

   interests of other states or foreign nations.” OMI Holdings, Inc., 149 F.3d at 1097. “[T]he

   Supreme Court has cautioned that ‘great care and reserve should be exercised when

   extending our notions of personal jurisdiction into the international field.’ Id. at 1097-98

   (quoting Asahi [Metal Industry Co. v. Superior Court,] 480 U.S. [102,] 115 [(1987)].” TH

   Agric. & Nutrition, 488 F.3d at 1297. Oliver purposefully availed himself of the benefits of

   doing business in the United States and in Colorado by posting the Malware on Reddit

   and impacting Plaintiff’s computer and bitcoins, which are sufficient to establish minimum

   contacts and this Court’s personal jurisdiction over Oliver. The policy interests of Colorado

   and the United States outweigh the interests of the U.K. Additionally, common law



                                                 16
Case 1:21-cv-01382-NYW-NRN Document 63 Filed 09/06/22 USDC Colorado Page 17 of 18




   trespass, conversion, and conspiracy are derived from English common law, so the

   interests between nations are aligned in terms of preventing these torts.

           The exercise of personal jurisdiction over Oliver is reasonable and conforms with

   due process and the notions of fair play and substantial justice. Oliver would not be forced

   to bear significant costs to defend himself in Colorado12, and Oliver's minimum contacts

   with Colorado give Colorado good reason to provide its forum for resolving this dispute

   between Plaintiff and Defendants. As explained above, Oliver has sufficient contacts with

   Colorado, and moreover, witnesses relevant to Plaintiff’s claims against Oliver are

   present in Colorado and, where they aren’t, are almost entirely in the United States. It

   would be proper and not burdensome (on Oliver) for this Court to exercise personal

   jurisdiction over Oliver in light of the facts and law discussed above.

                                              CONCLUSION

           There are sufficient facts to support the exercise of specific personal jurisdiction

   over Oliver, and this Court should exercise personal jurisdiction over Oliver. To rule

   otherwise would offend the notions of fair play and substantial justice, and leave Mr.

   Schober with no possible recourse against those who committed torts against him in the

   State of Colorado. Plaintiff respectfully requests that this Court deny Defendant Oliver

   Read’s Motion to Dismiss.




   12Plaintiff has already conveyed a genuine willingness to work with Oliver regarding U.S. court processes
   (e.g., discovery production) and, as previously noted, depositions will be conducted by Zoom.

                                                      17
Case 1:21-cv-01382-NYW-NRN Document 63 Filed 09/06/22 USDC Colorado Page 18 of 18




   Dated: September 6, 2022.          THE LAW OFFICE OF ETHAN MORA




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                                        18
